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                    Exhibit 1
Case
 Case2:19-cv-10860-MCS-PLA
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  8                            UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
10                                                  Case No. CV 19-10860 MCS (PLAx)
11     In re Mattel Inc Securities Litigation
                                                    ORDER SETTING DATES
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18          The Court has reviewed the parties’ Joint Rule 26(f) Report and sets the dates
19    below. Any proposed changes to the discovery rules set forth in the Federal Rules of
20    Civil Procedure are to be heard before the magistrate judge. The Court will set
21    additional dates, including pretrial and trial dates, after a ruling on class certification
22    has been issued.
23
24     Event                                            Date
25     Non-Expert Discovery Cut-Off                     December 3, 2021
26     Expert Disclosure (Initial)                      December 22, 2021
27     Expert Disclosure (Rebuttal)                     February 3, 2022
28
                                                    1
Case
 Case2:19-cv-10860-MCS-PLA
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  1
       Expert Discovery Cut-Off                    March 14, 2022
  2
       Deadline to File a Motion for Class         April 30, 2021
  3
       Certification
  4
       Deadline to File an Opposition to the       July 12, 2021
  5
       Motion for Class Certification
  6
       Deadline to File a Reply                    August 23, 2021
  7
       Hearing Date on Motion for Class            September 20, 2021 at 9:00 a.m.
  8
       Certification
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11
      IT IS SO ORDERED.
12
13
       Dated: March 12, 2021
14                                                 MARK C. SCARSI
15                                                 UNITED STATES DISTRICT JUDGE
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